Case 2:20-cv-09761-JFW-JC Document 41 Filed 11/15/21 Page 1 of 2 Page ID #:589




   1 Jeffrey N. Gesell (State Bar No. 200174)
       jgesell@jonesturner.com
   2
       Mariyetta Meyers-Lopez (State Bar No. 244352)
   3   mmeyers@jonesturner.com
   4
       JONES TURNER, LLP
       2 Venture, Suite 220
   5   Irvine, California 92618
       Tel: 949-435-4100                                                     JS-6
   6
       Fax:949-435-4105
   7
   8
       Attorneys for Plaintiff
       OHIO SECURITY INSURANCE COMPANY
   9

  10                          UNITED STATE DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12 OHIO SECURITY INSURANCE                         Case No. 2:20-cv-09761-JFW-JC
       COMPANY,
  13
                     Plaintiff,                      (District Judge John F. Walter)
  14
       V.
  15
       GOLD BEAK1 INC., EMRAN                        STIPULATION TO DISMISS CASE
  16 KHUWAJA a1so known as                           WITHOUT PREJUDICE
       EMERONKHUWAJA, and Does 1-30,
  17
                     Defendants.
  18
  19                                                 First Amended Complaint Filed:
                                                     11/09/2020
  20

  21
  22
  23         IT IS HEREBY STIPULATED by and between the parties, Plaintiff Ohio
  24 Security Insurance Company, on the one hand, and Defendant Gold Beak, Inc. and

  25 Emran Khuwaja, on the other hand, by and through their counsel of record,that the
  26 above captioned action shall be, and hereby is, dismissed without prejudice as to all
  27 parties and claims, pursuant to Federal Rule of Civil Procedure 41(a){l)(A)(ii) and

  28 4l(a)(l)(B).
                                                 1
                            STIPULATION TO DISMISS CASE WITHOUT PREJUDICE2:20-CV-09761-JFW-JC
Case 2:20-cv-09761-JFW-JC Document 41 Filed 11/15/21 Page 2 of 2 Page ID #:590




   1    Each party shall bear its or his own fees and costs.
   2 IT IS SO STIPULATED

   3
   4

   5 DATED: November12, 2021                 JONES TURNER, LLP
   6                                             /s/Jeffrey N. Gesell
   7                                         Jeffrey N. Gesell
                                              Mariyetta Meyers-Lo_I?ez
   8                                          Attorneys for Plaintiff
                                             OHIO SECURITY INSURANCE COMP ANY
   9
   10
        DATED: Novemberl , 20211L:._         LAW O FICES OF GREGORY B. BYBERG
  11

   12
                                         Greg
   13                                                                      ants
   14
                                             G                 ,        ., EMRANKHUWAJA

   15                    ATTESTATION REGARDING SIGNATURES
  16
              I, Jeffrey N. Gesell, attest that all signatories listed, and on whose behalf the
  17
        filing is submitted, concur in the filing's content and have authorized the filing.
  18
        DATED: November_,
                       12 2021               JONES TURNER, LLP
  19
                                              /s/Jeffrey N. Gesell
  20
                                              Jeffrey N. Gesell
  21
  22
  23          IT IS SO ORDERED.
  24
        Dated: November 15, 2021
  25
  26                                         Hon. John F. Walter, U.S. District Court Judge
                                                                   \



  27
  28
                                                     2
                              STIPULATION TO DISMISS CASE WITHOUT PREJUDICE2:20-CY-09761-JFW-JC
